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FILED

UNITED STATES DISTRIC ,
CT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO JUN 18 2018
UNITED STATES OF AMERICA, )
) - Oe.
Plaintiff, )  CRIMINALNO. 18-cR-L@ - AS SP
)
VS. ) Counts | and 2: 18 U.S.C. § 242:
) Deprivation of Rights;
)
JAMES BALDINGER, ) Count 3: 18 U.S.C. § 924(c): Possession
) of a Firearm in Furtherance of a Crime of
Defendant. ) Violence.
INDICTMENT
The Grand Jury Charges:
Introduction

At all times relevant to this indictment:

1. The defendant, JAMES BALDINGER, worked as a prisoner transport officer for Prisoner

Transportation Services of America (hereafter “PTS”).

2. Local jails and prisons throughout the United States of America hired PTS to transport

inmates who were arrested pursuant to out-of-state warrants.

3. The defendant, JAMES BALDINGER, transported these inmates to the jurisdictions that

initially issued the warrants.

4. PTS, by virtue of being hired by local jails and prisons, was required to act in compliance

with federal, state, and local laws, including the United States Constitution.

5. The defendant, JAMES BALDINGER, by virtue of being a PTS employee, was required to

act in compliance with federal, state, and local laws, including the United States Constitution.
 

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6. B.A.W. was a female prisoner who was transported from Dallas County, Texas to Bernalillo

County, New Mexico by PTS transport officers.
7. The defendant, JAMES BALDINGER, transported B.A.W. for part of her transport, from

Kentucky to New Mexico, while acting in his capacity as a prisoner transport officer.
8. Paragraphs one through seven are incorporated by reference in the counts below.

Count 1
On or between July 10, 2017, and July 11, 2017, on one or more occasions, in the District

of New Mexico and elsewhere, the defendant, JAMES BALDINGER, while acting under the
color of law, did digitally penetrate B.A.W.’s vagina against her will, thereby willfully depriving
B.A.W. of liberty without due process of law, which includes the right to bodily integrity, a right
secured and protected by the Constitution and laws of the United States. This act resulted in
bodily injury and included aggravated sexual abuse and the use of a dangerous weapon.

In violation of 18 U.S.C. § 242.

Count 2
On or about July 11, 2017, in the District of New Mexico, the defendant, JAMES
BALDINGER, while acting under the color of law, did digitally penetrate B.A.W.’s anus
against her will, thereby willfully depriving B.A.W. of liberty without due process of law, which
includes the right to bodily integrity, a right secured and protected by the Constitution and laws
of the United States. This act resulted in bodily injury and included aggravated sexual abuse and
the use of a dangerous weapon.

In violation of 18 U.S.C. § 242.

 
 

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Count 3

On or between July 10, 2017, and July 11, 2017, in District of New Mexico and

elsewhere, the defendant, JAMES BALDINGER, did knowingly possess a firearm in

furtherance of a crime of violence for which he may be prosecuted in a court of the United

States, that is, the willful deprivation of B.A.W.’s right to bodily integrity under color of law

resulting in bodily injury, and including aggravated sexual abuse and the use of a dangerous

weapon, as alleged in Count 1 and Count 2 of this indictment.

In violation of 18 U.S.C. § 924(c)(1)(A).

A TRUE BILL

/s/

FOREPERSON OF THE GRAND JURY

JOHN C. ANDERSON

SAAT

SHAHEEN eee
Assistant United States Attorney

JOHN M. GORE
Acting Assistant Attorney General
Civil CI eG va Department of Justice

 

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